 1   Patrick T. Derksen (State Bar I.D. No. 023178)
     WITTHOFT DERKSEN, P.C.
 2   3550 North Central Avenue, Suite 1006
     Phoenix, Arizona 85012
 3   Telephone: (602) 680-7332
     Facsimile: (602) 357-7476
 4   Email: pderksen@wdlawpc.com
 5   Attorneys for Trustee, Jill H. Ford
 6                                UNITED STATES BANKRUPTCY COURT
 7                                          DISTRICT OF ARIZONA
 8   In re:                                           ) Chapter 7
                                                      )
 9    PAUL ELIO,                                        Case No. 2:23-bk-00872-MCW
                                                      )
10            Debtor.                                 ) CERTIFICATE OF SERVICE
                                                      ) AND NO OBJECTIONS
11
12            The chapter 7 trustee, Jill H. Ford (“Trustee”), through her attorneys, Witthoft Derksen,

13   P.C., filed the Trustee’s Motion: (1) To Approve Settlement, Pursuant to Fed. R. Bankr. P. 9019;

14   and (2) For Payment of Undisputed Exemption Claim (“Motion”) and the Notice of Trustee’s

15   Motion: (1) To Approve Settlement, Pursuant to Fed. R. Bankr. P. 9019; and (2) For Payment of

16   Undisputed Exemption Claim (“Notice”) on May 23, 2023 at Docket Nos. 20 and 21,

17   respectively. Notice was sent to all parties-in-interest on May 23, 2023 as evidenced by the

18   Certificate of Mailing on file with this Court at Docket No. 22. The Notice indicated that any

19   party-in-interest objecting to the Motion must file an objection with the Court within 21 days of

20   said Notice. The time to object has now expired since the mailing of the notice. No objections

21   have been filed with the Court. A copy of the pertinent portion of the Court’s docket dated July

22   12, 2023 for this case is attached hereto. Based on the foregoing, the undersigned, on behalf of

23   the Trustee, respectfully requests that this Court enter its Order approving the Motion. A form

24   of order is lodged concurrently herewith.

25            DATED July 12, 2023.               WITTHOFT DERKSEN, P.C.

26                                               By: /s/ Patrick T. Derksen                  #023178
                                                     Patrick T. Derksen
                                                     Attorneys for Jill H. Ford, Trustee


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 1   COPIES of the foregoing were served July 12, 2023 via the
     Court’s CM/ECF Notification System on all parties that requested notice in this case; and
 2   COPIES were *e-mailed/mailed to the following parties:
 3   *Larry Watson
 4   United States Trustee
     230 North First Avenue, Suite 204
 5   Phoenix, Arizona 85003-1706
     Larry.Watson@usdoj.gov
 6   *Jill H. Ford
 7   P.O. Box 5845
     Carefree, Arizona 85377
 8   Chapter 7 Trustee
     jford@trustee.phxcoxmail.com
 9   Paul Elio
10   102 West El Caminito Drive
     Phoenix, AZ 85021
11   Debtor

12   *Allan NewDelman
     Allan D. NewDelman PC
13   80 E. Columbus Ave.
     Phoenix, AZ 85012
14   anewdelman@adnlaw.net
     Attorneys for Debtor
15   *Lawrence D. Hirsch
16   Parker Schwartz, PLLC
     7310 N. 16th Street, Suite 330
17   Phoenix, Arizona 85020
     lhirsch@psazlaw.com
18   Attorneys for Franks Cool Houser & McVey PC

19   Farmers Insurance Total Loss COE
     P.O. Box 108815
20   Oklahoma City, OK 73101-8815

21   *Farmers Insurance Company Of Arizona
     Attn: Bryan Downs
22   myclaim@farmersinsurance.com

23
24   /s/ Gabrielle Leckbee
25
26




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                                     U.S. Bankruptcy Court
                                  District of Arizona (Phoenix)
                            Bankruptcy Petition #: 2:23-bk-00872-MCW
                                                                                    Date filed: 02/14/2023
Assigned to: Judge Madeleine C. Wanslee                                   Debtor discharged: 05/30/2023
Chapter 7                                                                        341 meeting: 03/21/2023
Voluntary                                                 Deadline for objecting to discharge: 05/22/2023
No asset


Debtor disposition: Standard Discharge

Debtor                                                       represented by ALLAN 2 NEWDELMAN
PAUL ELIO                                                                   ALLAN D NEWDELMAN PC
102 WEST EL CAMINITO DRIVE                                                  80 E COLUMBUS AVE
PHOENIX, AZ 85021                                                           PHOENIX, AZ 85012
MARICOPA-AZ                                                                 602-264-4550
SSN / ITIN: xxx-xx-5547                                                     Fax : 602-277-0144
aka PAUL ALBERT ELIO                                                        Email: anewdelman@adnlaw.net

Trustee                                                      represented by PATRICK T. DERKSEN
JILL H. FORD                                                                WITTHOFT DERKSEN, PC
PO BOX 5845                                                                 3550 N. CENTRAL AVENUE
CAREFREE, AZ 85377                                                          SUITE 1006
480-575-8250                                                                PHOENIX, AZ 85012
                                                                            602-680-7332
                                                                            Fax : 602-357-7476
                                                                            Email: pderksen@wdlawpc.com

U.S. Trustee
U.S. TRUSTEE
OFFICE OF THE U.S. TRUSTEE
230 NORTH FIRST AVENUE
SUITE 204
PHOENIX, AZ 85003


  Filing Date                #                                        Docket Text

                            19               Trustee Objection to Exempt Property Trustees Objection to
                            (4 pgs)          Debtors Claimed Exemptions filed by PATRICK T. DERKSEN
                                             of WITTHOFT DERKSEN, PC on behalf of JILL H. FORD.
 04/20/2023                                  (DERKSEN, PATRICK) (Entered: 04/20/2023)

                            20               Motion to Approve Compromise/Settlement Trustees Motion:
                            (25 pgs)         (1) To Approve Settlement, Pursuant to Fed. R. Bankr. P. 9019;
                                             and (2) For Payment of Undisputed Exemption Claim filed by
                                             PATRICK T. DERKSEN of WITTHOFT DERKSEN, PC on
                                             behalf of JILL H. FORD. (DERKSEN, PATRICK) (Entered:
 05/23/2023                                  05/23/2023)


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                      21                    Notice of Bar Date Notice of Trustees Motion: (1) To Approve
                      (5 pgs)               Settlement, Pursuant to Fed. R. Bankr. P. 9019; and (2) For
                                            Payment of Undisputed Exemption Claim filed by PATRICK T.
                                            DERKSEN of WITTHOFT DERKSEN, PC on behalf of JILL
                                            H. FORD (related document(s)20 Motion to Approve
                                            Compromise/Settlement).(DERKSEN, PATRICK) (Entered:
05/23/2023                                  05/23/2023)

                      22                    Certificate of Mailing filed by PATRICK T. DERKSEN of
                      (5 pgs)               WITTHOFT DERKSEN, PC on behalf of JILL H. FORD.
                                            (related document(s)20 Motion to Approve
                                            Compromise/Settlement, 21 Notice of Bar Date) (DERKSEN,
05/23/2023                                  PATRICK) (Entered: 05/23/2023)

                      23                    Notice Regarding Required Personal Financial Management
05/26/2023            (5 pgs; 2 docs)       Course (admin) (Entered: 05/26/2023)

                      24                    Financial Management Course Certificate filed by ALLAN 2
                      (1 pg)                NEWDELMAN of ALLAN D NEWDELMAN PC on behalf of
05/26/2023                                  PAUL ELIO. (NEWDELMAN, ALLAN) (Entered: 05/26/2023)

                      25                    BNC Certificate of Notice (related document(s)23 Notice
                      (6 pgs)               Regarding Required Personal Financial Management Course)
05/26/2023                                  (Admin.) (Entered: 05/28/2023)

                      26
05/30/2023            (3 pgs; 2 docs)       Chapter 7 Discharge. (Admin.) (Entered: 05/30/2023)

                      27                    BNC Certificate of Notice - Discharge of Debtor (related
                      (4 pgs)               document(s)26 BNC Form Request--Chapter 7 Discharge)
05/30/2023                                  (Admin.) (Entered: 06/01/2023)




                                      PACER Service Center
                                           Transaction Receipt
                                             07/12/2023 14:21:29
                   PACER                    Client
                   Login:                   Code:
                                                      2:23-bk-00872-MCW Fil or Ent:
                                                      filed From: 4/13/2023 To: 7/12/2023
                                  Docket    Search
                   Description:                       Doc From: 0 Doc To: 99999999
                                  Report    Criteria:
                                                      Headers: included Format: html
                                                      Page counts for documents: included
                   Billable
                                  1         Cost:     0.10
                   Pages:


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